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                       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
                                                                                                Attachment F
                                                                                                  OP-030601

                          OKLAHOMA PRISON RAPE ELIMINATION ACT (PREA}
                          I STAFF TRAINING ACKNOWLEDGEMENT (115.31)

 The Prison Rape Elimination Act prohibits and seeks to eliminate sexual assaults and sexual harassment in
 correctional facilities in an effort to provide a safe, humane, and secure environment for all inmates. The
 Oklahoma Department of Corrections administers a program of education, prevention, detection, response,
 investigation and tracking of all reported acts of sexual assault and sexual harassment.

 Staff PREA training shall include the following, at a minimum:

     ✓   The Oklahoma Department of Corrections zero-tolerance policy for sexual abuse and sexual
         harassment

     ✓   Employee responsibilities pertaining to agency policies regarding sexual abuse and sexual
         harassment prevention, detection, reporting, and response

     ✓   Inmate's right to be free from sexual abuse and sexual harassment

     ✓   Employee and inmate's right to be free from retaliation for reporting sexual abuse and sexual
         harassment



     ✓   Staff may privately report allegations or incidents of sexual abuse/assault or harassment (staff or
         inmate) to the Inspector General's office, PREA Hotline at 405-425-2493 or 1-855-871-4139, as well
         as preareport@doc.ok.gov. (115.51, 115.251)

     ✓   The dynamics of sexual abuse and sexual harassment in confinement

    ✓    The common reactions of sexual abuse and sexual harassment victims

    ✓    How to detect and respond to signs of threatened and actual sexual abuse

    ✓    How to avoid inappropriate relationships with inmates

    ✓    How to communicate effectively and professionally with inmates, including lesbian, gay, bisexual,
         transgender, intersex, or gender nonconforming inmates

    ✓    How to comply with relevant laws related to mandatory reporting of sexual abuse to outside
         authorities

In signing1 this document, I acknowledge that I received PREA training
above.

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Employee ID Number:          \bD.)~_)                       Date:
Original to Employee Training File
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